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 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE DISTRICT OF OREGON
10                                   PORTLAND DIVISION
11

12   STEVEN ARTHUR LATULIPPE, M.D., Case No.:
13                     Plaintiff,                  COMPLAINT FOR DECLARATORY
14                                                 AND INJUNCTIVE RELIEF AND
                       vs.
                                                   DAMAGES
15
     KATHLEEN HARDER, in her official
16   capacity as Chair of the Oregon Medical
17   Board; SAURABH GUPTA, in her                  DEMAND FOR JURY TRIAL
     official capacity as Vice Chair of the
18   Oregon Medical Board; ERIN CRAMER,
19   in his official capacity as
     Secretary/Physician Assistant Member of
20   the Oregon Medical Board; ROBERT M.
21   CAHN, in his official capacity as a
     member of the Oregon Medical Board;
22   JAMES K. LACE, in his official capacity
23   as a member of the Oregon Medical
     Board; CHARLOTTE LIN, in her
24   official capacity as a member of the
25   Oregon Medical Board; PATTI LOUIE,
     in her official capacity as a member of the
26   Oregon Medical Board; JENNIFER L.
27   LYONS, in her official capacity as a
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     member of the Oregon Medical Board;
     ALI MAGEEHON, in her official
 2   capacity as a member of the Oregon
 3   Medical Board; CHERE PEREIRA, in
     her official capacity as a member of the
 4   Oregon Medical Board; CHRISTOFFER
 5   POULSEN, in his official capacity as a
     member of the Oregon Medical Board;
 6   ANDREW SCHINK, in his official
 7   capacity as a member of the Oregon
     Medical Board; JILL SHAW, in her
 8   official capacity as a member of the
 9   Oregon Medical Board,

10                       Defendants.
11

12                                       INTRODUCTION
13         1.     The crux of this case is whether the Oregon Medical Board (“OMB”) was
14   justified in denying Doctor Steven LaTulippe adequate due process because he was a
15   danger to the public.
16         2.     Dr. LaTulippe, a retired U.S. veteran, is the healthcare provider for South
17   View Medical Arts located in Dallas, Oregon. After 20-plus years of practicing medicine,
18   on December 3, 2020, the OMB suspended Dr. LaTulippe’s license without a hearing
19   because he was not strictly following the Oregon Occupational Safety and Health
20   Administration (OHSA) and Oregon Health Authority (OHA) COVID-19 mask protocols.
21         3.     The OMB’s decision established a per se rule that a doctor is a danger to his
22   patients if he or she does not follow the medical guidance of the administrative state, i.e.,
23   unelected government officials.
24         4.     In reality though Dr. LaTulippe has harmed no one. His COVID-19 Protocol
25   has been highly successful. No COVID-19 case has been traced to his office.
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 1         5.      Accordingly, the OMB’s arbitrary decision to revoke Dr. LaTulippe’s license
 2   is not based on law or facts but a mere difference in medical opinion. Indeed, the OMB’s
 3   medical opinions have been largely disputed by reputable studies and medical experts.
 4         6.      The OMB has violated Dr. LaTulippe’s rights to due process and speech
 5   under the U.S. Constitution.
 6                                   PARTIES – PLAINTIFFS
 7         7.      Plaintiff, STEVEN A. LATULIPPE, is a U.S. Airforce veteran and has
 8   served as a doctor in Dallas, Oregon for 20-plus years. He currently resides in West
 9   Salem, Oregon.
10                                  PARTIES – DEFENDANTS
11         8.      Defendants, at all relevant times, were duly appointed members of the
12   Oregon Medical Board (OMB), which is an agency of the State of Oregon and is
13   authorized to investigate and discipline physicians for certain statutory and regulatory
14   violations.
15         9.      At all material times, Defendants were persons acting under the color of state
16   pursuant to 42 U.S.C. § 1983.
17                                JURISDICTION AND VENUE
18         10.     This civil rights action raises federal questions under the Fourteenth and First
19   Amendments of the United States Constitution, and under federal law, particularly 42
20   U.S.C. § 1983.
21         11.     This Court has subject matter jurisdiction over the federal claims pursuant to
22   28 U.S.C. §§ 1331 and 1343.
23         12.     This Court has authority to grant the requested declaratory relief under the
24   Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, implemented through Rule 57 of
25   the Federal Rules of Civil Procedure. This Court is also authorized to grant injunctive
26   relief and damages under 28 U.S.C. § 1343, pursuant to Rule 65 of the Federal Rules of
27   Civil Procedure, and reasonable attorney’s fees and costs under 42 U.S.C. § 1988.
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 1         13.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(1)(2) because all
 2   Defendants are situated in this judicial district, and a substantial part of the events or
 3   omissions giving rise to Plaintiff’s claims occurred in this district.
 4                                 FACTUAL BACKGROUND
 5   A.    Dr. Steven LaTulippe’s Background and Training
 6         14.    At all relevant times, Dr. LaTulippe possessed the education, training, and
 7   clinical experience to practice medicine in the State of Oregon.
 8         15.    Dr. LaTulippe is a decorated and well-respected U.S. veteran and Oregon
 9   medical provider.
10         16.    On or around 1975, Dr. LaTulippe enlisted in the U.S. Air Force, with a focus
11   in aviation. He had the opportunity to fly the KC-135 Stratotanker and the RF-4C
12   Phantom. He also had the privilege of acting as the Chief of Medical Services, the Medical
13   Review Officer, the Chief of Pharmacy Services and a physician with the Oregon Air
14   National Guard.
15         17.    On or around 1978, Dr. LaTulippe, studied biology with an emphasis on
16   microbiology at Boise State University. After graduating from Boise State, he attended
17   the University of Massachusetts to study microbiology in the PhD program. He also taught
18   general microbiology and bacteriology for one year in the PhD program.
19         18.    On or around 1989, and while flying the RF-4C Phantom in the U.S. Air
20   Force, Dr. LaTulippe attended Boise Bible College and became an ordained minister.
21         19.    On or around 1991, Dr. LaTulippe attended the Cincinnati Bible Seminary.
22         20.    On or around 1993, Dr. LaTulippe enrolled in medical school at Lorma Linda
23   University. Upon graduating in 1997, he completed his residency in rural medicine in
24   Wheeling, West Virginia.
25         21.    On or around 2000, Dr. LaTulippe moved to Dallas, Oregon. He opened up
26   a practice in Dallas (South View Medical Arts) that focused on, and still focuses on, pain
27   and addiction and full-spectrum family medicine. He moved to West Salem in 2013.
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 1         22.    In addition to providing pain and addiction services, Dr. LaTulippe provides
 2   immediate care, gynecology services, dermatologic care, psychiatric care, endoscopies,
 3   and geriatrics.
 4         23.    Dr. LaTulippe uniquely treats chronic pain—including fibromyalgia, low
 5   back pain, neck pain and joint pain – by prescribing appropriate adjunctive and opioid
 6   therapies focusing on central pain.
 7         24.    The central pain treatment has been an enormous blessing and revelation to
 8   many of Dr. LaTulippe’s patients.
 9         25.    Dr. LaTulippe receives referrals from all over Oregon – many of whom come
10   from underprivileged socio-economic backgrounds.
11         26.    On or around the middle of November 2020, Dr. LaTulippe received a
12   “Certificate of Long-term American Academic of Family Physicians (AAFP)
13   Achievement.” A true and correct copy of his Certificate is attached hereto as Exhibit “A.”
14   B.    The OMB’s Suspension of Dr. LaTulippe’s License
15         27.    On or around August 13, 2020, the OMB opened an investigation against Dr.
16   LaTulippe based upon allegations that he was advising the public to not wear a mask,
17   including posting on social media.
18         28.    That same day, Dr. LaTulippe received a phone call from an anonymous man
19   who said he was going to “take him down.”
20         29.    On or around November 7, 2020, Dr. LaTulippe spoke at a “Stop the Steal
21   Rally” in Salem, Oregon. During the rally, he spoke about the ineffectiveness of masks.
22         30.    On or around November 9, 2020, the medical director of the OMB, David
23   Farris, sent Dr. LaTulippe a letter saying Dr. LaTulippe was in violation of the Governor’s
24   Executive Orders and the administrative rules issued by OHA, requiring people to wear
25   properly fitted masks.
26         31.    On or around December 2, 2020, an investigator arrived at Dr. LaTulippe’s
27   office unannounced. The investigator observed the office but never inquired with staff or
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 1   Dr. LaTulippe about his COVID-19 protocol or ask if any COVID-19 cases were traced
 2   to the office.
 3          32.       On or around December 3, 2020, Jason Carruth, a purported investigator with
 4   the OMB, called Dr. LaTulippe to inform him the OMB suspended his license.
 5          33.       Shortly after the call, Dr. LaTulippe read about his suspension on the news.
 6          34.       On or around December 5, 2020, Dr. LaTulippe was served with the
 7   suspension letter and “Order of Emergency Suspension of License.” A true and correct
 8   copy of the Order is attached hereto as Exhibit “B.”
 9          35.       The OMB relied on Oregon Revised Statutes (ORS) 667.205(3) and
10   183.430(2), to circumvent procedural due process and thereby deny Dr. LaTulippe a
11   hearing.
12          36.       ORS 677.205(3) allows the OMB to temporarily suspend a license without a
13   hearing if there is evidence that a licensee’s continued practice constitutes an immediate
14   danger to the public.
15          37.       ORS 183.430(2) allows a temporary suspension if the board has found that a
16   licensee’s continued practice of medicine by a physician presents a serious danger to the
17   public health or safety.
18          38.       ORS 677.205(3) and ORS 183.430(2) requires different procedures. The
19   OMB did not clarify which procedure it intends to follow.
20          39.       The board found that Dr. LaTulippe presented a serious danger to the public
21   health and safety. This conclusion was based upon “sources that are well recognized in
22   the medical community” and complaints submitted by an unknown party (patient A) and
23   a private investigator.
24          40.       According to the OMB, OHA and OSHA, public health and safety requires
25   health care practitioners to wear masks and require patients and staff to wear masks in the
26   clinical setting. Health care providers must also adopt, enforce, and post COVID-19
27   transmission prevention policies and protocols.
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 1         41.      The OMB stated, in its finding of facts, that patient A claimed Dr. LaTulippe
 2   directed him or her not to self-isolate because they should be around others to build
 3   COVID-19 immunity.
 4         42.      The OMB also found that Dr. LaTulippe and his staff refused to wear a mask
 5   in the clinic, urged people to remove their mask when they enter the clinic, and provided
 6   no hand sanitizer or screening protocol.
 7   C.    Dr. LaTulippe’s COVID-19 Practices, Protocols, and Results
 8         43.      Since the inception of COVID-19, Dr. LaTulippe has followed a strict
 9   COVID-19 protocol, which is posted throughout his office. A true and correct copy of the
10   COVID-19 Protocol is attached hereto as exhibit “C.”
11         44.      On the lobby door is a sign that reads, “Our office is following Corona Virus
12   (COVID-19) protocol. We appreciate your cooperation and understanding during this
13   confusing time.” A true and correct copy of the sign is attached hereto as Exhibit “D.”
14         45.      Dr. LaTulippe’s protocol requires all patients stay six feet apart. Most the
15   time, there was only one patient in the lobby.
16         46.      Dr. LaTulippe’s practice only has two staff members, one being his wife.
17         47.      Dr. LaTulippe and his staff ensures there are no crossing of paths amongst
18   patients. All patients are directed in a one-way circle around the office.
19         48.      All patients and staff are required to wash their hands before and after each
20   patient contact. Staff also wear gloves and sterilize and disinfect the treatment rooms after
21   patient use.
22         49.      Whenever a patient expresses or exhibits COVID-19 symptoms such as a
23   fever, diarrhea, coughing, congestion, tightness in chest, shortness of breath, muscle
24   tightness, or fatigue, the patient is required to wear a mask while visiting the clinic.
25         50.      If a patient calls and expresses COVID-19 symptoms, he or she is instructed
26   to visit the clinic at the end of business hours, when there are no other patients in the lobby.
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 1         51.    When a patient with COVID-19 symptoms arrives at the office, there are no
 2   other patients in the waiting room. The patient is directed to a designated room reserved
 3   for COVID-19 treatment.
 4         52.    Once a COVID-19 patient exits the office, staff disinfect and sterilize the
 5   designated COVID-19 room for future appointments.
 6         53.    Dr. LaTulippe treats COVID-19 patients with Prednisone, Symbicort,
 7   Ventolin, Azithromycin, and Doxycycline. If a patient has GI symptoms, a headache, and
 8   myalgias (flu-like symptoms), they are treated with Pedialyte. A true and correct copy of
 9   the COVID-19 Treatment Protocol is attached hereto as Exhibit “E.”
10         54.    Dr. LaTulippe has never told a patient they cannot wear a mask in his office.
11   He provides all patients with COVID-19 related information so they can make an informed
12   decision.
13         55.    He has treated approximately 200 patients who have experienced physical
14   manifestations from wearing a mask like fainting, dizziness, migraines, asthma, allergies,
15   pneumonia, COPD exacerbations, nasal postal osis, parotitis, pink eye, sinusitis, and oral
16   gingivitis. He advises these patients to not wear a mask as much as possible and to avoid
17   places where they would be forced to wear a mask.
18         56.    Dr. LaTulippe provides hand sanitizer at the front desk near the receptionist
19   so no one steals it.
20         57.    There has been no reported person to person COVID-19 infections traced to
21   Dr. LaTulippe’s office, and none of his staff have contracted the disease.
22         58.    All of Dr. LaTulippe’s patients with COVID-19 symptoms have experienced
23   improvement from the symptoms.
24   D.    The Effectiveness of Masks in Combatting COVID-19 Has Been Disputed
25         59.    Because most of the allegations of the investigator are untrue, the remaining
26   essence of OMB’s decision to suspend Dr. LaTulippe’s medical license is that he and his
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 1   staff do not wear a mask in the medical office and that he stated his political views on this
 2   subject clear at a political rally.
 3          60.       Medical experts and reputable studies reveal that masks are ineffective at
 4   curtailing the spread of COVID-19.
 5          61.       For instance, a Danish study conducted by ACP Journals during April 2 to
 6   June 2, 2020 – a period when Danish authorities did not recommend mask use – found
 7   that a recommendation to wear a surgical mask did not reduce, “at conventional levels of
 8   statistical significance, incident SARS-CoV-2 infection compared with no mask
                             1
 9   recommendation.”            A true and correct copy of the Danish study is attached hereto as
10   Exhibit “F.”
11          62.       Further, masks are ineffective viral barriers because the particles of COVID-
12   19 are small enough to enter through the surface of a cloth mask. Particles from wildfire
13   smoke are between .4 and .7 microns and COVID-19 is between .1 and .5 microns.2 A true
14   and correct picture of a COVID-19 particle is attached hereto as Exhibit “G.”
15          63.       In a study conducted in Physics of Fluids, by AIP Publishing, researchers
16   from the University of Massachusetts Lowell and California Baptist found that wearing a
17   mask does not prevent particles smaller than 2.5 micrometers from spreading.3 A true and
18   correct copy of this study is attached hereto as Exhibit “H.”
19          64.       Because masks are not effective in slowing the spread of COVID-19, Dr.
20   LaTulippe only requires patients who are symptomatic to wear masks in his clinic.
21          65.       Further, Dr. LaTulippe’s staff do not wear masks because they experience
22   shortness of breath, claustrophobia, and panic attacks.
23
            1
24              Available as of the date of filing: https://www.acpjournals.org/doi/full/10.7326/M20-6817
            2
25             Available as of the date of filing: https://www.visualcapitalist.com/visualizing-relative-size-
     of-particles/. For example, masks do not prevent the smell of cigarette smoke from passing through a
26   mask.
            3
27              https://aip.scitation.org/doi/10.1063/5.0034580

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 1   E.    Dr. LaTulippe’s Continued Suspension Will Lead to Irreparable Harm
 2         66.    Since Dr. LaTulippe’s suspension, many of his patients have suffered greatly.
 3         67.    For many patients, Dr. LaTulippe is their only doctor. They rely primarily on
 4   him to receive consequential treatment and prescriptions. Without his services, they are
 5   suffering extreme pain and anxiety.
 6         68.    Dr. LaTulippe is the only doctor within reasonable driving distance of Dallas,
 7   Oregon that specializes in pain and addiction.
 8         69.    Approximately one-half of Dr. LaTulippe’s patients visit him for pain and
 9   addiction treatment because he specializes in central pain medicine, which is a unique
10   specialty.
11         70.    Central pain is commonly mistreated with opioids, which does not cure pain
12   symptoms and can lead to addiction.
13         71.    A significant number of patients were referred to Dr. LaTulippe after they
14   failed opioid treatment elsewhere.
15         72.    His treatment has assisted their pain and allowed them to control their
16   addictions, and they will find it extremely hard, if not impossible, to find another doctor
17   within a reasonable driving distance that can replace him.
18                                FIRST CAUSE OF ACTION
19                     The OMB Violated the Due Process Clause of the
20                      Fourteenth Amendment to the U.S. Constitution
21         73.    Dr. LaTulippe realleges and incorporates by reference the paragraphs above.
22         74.    42 U.S.C. § 1983 provides that a party shall be liable when it “subjects, or
23   causes to be subjected, any person of the United States or other person within the
24   jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by
25   the Constitution and laws of the United States.”
26         75.    Dr. LaTulippe was not afforded adequate due process before his property (his
27   medical license) was taken from him.
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 1         76.    Defendants willfully deprived and violated Dr. LaTulippe’s procedural due
 2   process rights by:
 3                (a)       Relying on ORS 677.205(3) and 183.430(2) to interfere with and
 4   impede Dr. LaTulippe’s ability to practice medicine.
 5                (b)       Failing to provide Dr. LaTulippe with a hearing before his suspension
 6   under the pretext that he posed an imminent danger to the public’s health or safety.
 7                (c)       Failing to make clear which procedure it intends to follow and thereby
 8   impairing Dr. LaTulippe’s ability to pursue a defense.
 9                (d)       Failing to articulate which laws Dr. LaTulippe has actually violated.
10                (e)       Suspending Dr. LaTulippe’s license without first issuing or serving an
11   emergency order prior to the suspension as required by OAR 137-003-0560.
12         77.    As a result of Defendants’ conduct, Dr. LaTulippe has suffered economic
13   damages for the loss of wages and impairment of his earning capacity in an amount to be
14   determined at trial.
15         78.    Dr. LaTulippe has also suffered noneconomic damages for mental and
16   emotional distress and loss to his reputation in an amount to be determined at trial.
17                                  SECOND CAUSE OF ACTION
18                           The OMB Violated the Speech Clause of the
19                             First Amendment to the U.S. Constitution
20         79.    Dr. LaTulippe realleges and incorporates by reference the paragraphs above.

21         80.    The OMB’s suspension of Dr. LaTulippe was based on the fact he has
22   publicly stated at a political rally (“Stop the Steal” rally) that masks are not effective in
23   slowing the spread of COVID-19.
24         81.    In context, the statements we made at a Stop the Steal Rally to a politically
25   driven group of people sympathetic to assertions that there was election fraud and who
26   were opposed to COVID-19 lockdowns. The statements were intended to rally a political
27   view against COVID-19 lockdowns, against COVID-19 policies restricting freedom of
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 1   expression, speech, and liberty, and to encourage people to favor President Donald Trump
 2   as an alternative to the lockdowns generally occurring in Democrat controlled states.
 3            82.   Dr. LaTulippe’s speech was among numerous other politically driven
 4   speeches, was expressed within a political gathering, and was expressed as part of a larger
 5   overall message intended by its organizers to arose support for President Trump.
 6            83.   The OMB’s suspension targeted Dr. LaTulippe because he spoke at a rally
 7   supporting President Trump and against certain COVID-19 policies.
 8            84.   The OMB’s suspension is also based upon public comments Dr. LaTulippe
 9   has made to his patients.
10            85.   Even though Dr. LaTulippe made comments in public about masks, he never
11   prevented any patient from wearing a mask in the office. Furthermore, Dr. LaTulippe
12   never told any individual patient to remove their mask for any reason other than medical
13   necessity.
14            86.   The OMB’s suspension restrains verbal as well as the non-verbal expressive
15   conduct of refusing to wear a mask.
16            87.   The restraint of Dr. LaTulippe’s speech is not justified by strict scrutiny.
17            88.   As a result of Defendants’ suspension, Dr. LaTulippe has suffered economic
18   damages for the loss of wages of his earning capacity in an amount to be determined at
19   trial.
20            89.   Dr. LaTulippe has also suffered noneconomic damages for mental and
21   emotional distress and loss to his reputation in an amount to be determined at trial.
22                                     PRAYER FOR RELIEF
23            WHEREFORE, Plaintiffs pray for relief as follows:
24            1.    That this Court enter a Declaratory Judgment declaring Defendants’
25   suspension of Dr. LaTulippe’s license violated his procedural due process rights;
26            2.    That this Court enter a Declaratory Judgment declaring Defendants’ conduct
27   violated Dr. LaTulippe’s First Amendment rights;
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 1         3.    That this Court issue a temporary, preliminary, and permanent injunction
 2   enjoining the OMB’s suspension of Dr. LaTulippe’s license and thereby reinstating his
 3   license;
 4         4.    That this Court award Dr LaTulippe compensatory and general damages in
 5   an amount according to proof;
 6         5.    That this Court award Dr. LaTulippe special damages in an amount according
 7   to proof;
 8         6.    That this Court award Dr. LaTulippe punitive damages;
 9         7.    That this Court declare Dr. LaTulippe the prevailing party and award him the
10   reasonable costs and expenses of this action, including reasonable attorney’s fees in
11   accordance with 42 U.S.C. §1988; and
12         8.    That this Court grant such other and further relief as this Court deems
13   equitable and just under the circumstances.
14
                                                   Respectfully submitted,
15
                                                   TYLER & BURSCH, LLP
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17   Dated: January 20, 2021                       /s/ R. Todd Frahm
18                                                 R. Todd Frahm
                                                   Attorney for Plaintiff Steven Arthur
19                                                 Latulippe, M.D.
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Effectiveness of Adding a Mask
Recommendation to Other Public Health
Measures to Prevent SARS-CoV-2
Infection in Danish Mask Wearers
A Randomized Controlled Trial
Henning Bundgaard, DMSc
,
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Background:

Observational evidence suggests that mask wearing mitigates transmission of severe acute

respiratory syndrome coronavirus 2 (SARS-CoV-2). It is uncertain if this observed association

arises through protection of uninfected wearers (protective effect), via reduced transmission from

infected mask wearers (source control), or both.

Objective:

To assess whether recommending surgical mask use outside the home reduces wearers' risk for

SARS-CoV-2 infection in a setting where masks were uncommon and not among recommended

public health measures.

Design:
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Randomized controlled trial (DANMASK-19 [Danish Study to Assess Face Masks for the

Protection Against COVID-19 Infection]). (ClinicalTrials.gov: NCT04337541)

Setting:

Denmark, April and May 2020.

Participants:

Adults spending more than 3 hours per day outside the home without occupational mask use.

Intervention:

Encouragement to follow social distancing measures for coronavirus disease 2019, plus either no

mask recommendation or a recommendation to wear a mask when outside the home among other

persons together with a supply of 50 surgical masks and instructions for proper use.

Measurements:

The primary outcome was SARS-CoV-2 infection in the mask wearer at 1 month by antibody

testing, polymerase chain reaction (PCR), or hospital diagnosis. The secondary outcome was

PCR positivity for other respiratory viruses.

Results:

A total of 3030 participants were randomly assigned to the recommendation to wear masks, and

2994 were assigned to control; 4862 completed the study. Infection with SARS-CoV-2 occurred

in 42 participants recommended masks (1.8%) and 53 control participants (2.1%). The between-

group difference was −0.3 percentage point (95% CI, −1.2 to 0.4 percentage point; P = 0.38)
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(odds ratio, 0.82 [CI, 0.54 to 1.23]; P = 0.33). Multiple imputation accounting for loss to follow-

up yielded similar results. Although the difference observed was not statistically significant, the

95% CIs are compatible with a 46% reduction to a 23% increase in infection.

Limitation:

Inconclusive results, missing data, variable adherence, patient-reported findings on home tests,

no blinding, and no assessment of whether masks could decrease disease transmission from mask

wearers to others.

Conclusion:

The recommendation to wear surgical masks to supplement other public health measures did not

reduce the SARS-CoV-2 infection rate among wearers by more than 50% in a community with

modest infection rates, some degree of social distancing, and uncommon general mask use. The

data were compatible with lesser degrees of self-protection.
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